               Case: 24-7000     Document: 80        Filed: 08/09/2024      Page: 1




                                          Before the
                               UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT



 In re: MCP No. 185 Open Internet Rule          No. 24-7000 (lead)
 (FCC 24-52)
______________________________________________________________________________

 National Consumer Law Center
          Petitioner,

          v.                                                No. 24-3517

 Federal Communications Commission
          and the
 United States of America,
          Respondents.
          MOTION TO WITHDRAW AND DISMISS PETITION FOR REVIEW
       Pursuant to FRAP 42(b)(2), National Consumer Law Center (“NCLC”) respectfully

moves this Court to withdraw and dismiss the petition for review (Attachment A) in the above-

referenced case, filed by NCLC in the United States Court of Appeals for the First Circuit, of the

Federal Communications Commission’s Safeguarding and Securing the Open Internet; Restoring

Internet Freedom, Declaratory Ruling, Order, Report and Order, and Order on Reconsideration,

WC Docket No. 17-108 and WC Docket No. 23-320 (released May 7, 2024).

       Respondents the Federal Communications Commission and the United States do not

oppose this motion.

                                                            Respectfully submitted,

                                                            /s/ Albert Kramer
                                                            1818 N St. NW, Suite 410
                                                            Washington, D.C. 20036
                                                            (202) 861-0020
                                                            al@publicknowledge.org
                                                            Counsel for Petitioner
                                                            National Consumer Law Center
August 9, 2024
              Case: 24-7000       Document: 80        Filed: 08/09/2024       Page: 2




                                 CERTIFICATE OF SERVICE

       I certify that I electronically filed the foregoing with the Clerk of the Court for the United

States Court of Appeals for the Sixth Circuit by using the appellate CM/ECF system on August

9, 2024. I certified that all participants in the case are registered CM/ECF users and that service

will be accomplished by the CM/ECF system.



                                                              /s/ Albert Kramer
                                                              Counsel for Petitioner
                                                              National Consumer Law Center

August 9, 2024
Case: 24-1529    Document:
                  Case: 24-7000
                           00118151849
                                 Document:
                                       Page:
                                           80 1 Filed:
                                                    Date
                                                       08/09/2024
                                                         Filed: 05/31/2024
                                                                     Page: 3 Entry ID: 6646339
                                                                                 Received Electronically
  ATTACHMENT A                                                                        May 31, 2024
                                               Before the                        United States Court of Appeals
                                    UNITED STATES COURT OF APPEALS
                                                                                      For the First Circuit
                                         FOR THE FIRST CIRCUIT



       National Consumer Law Center
                Petitioner,

                v.                                                 No. ______

       Federal Communications Commission
                and the
       United States of America,
                Respondents.


                                        PETITION FOR REVIEW

             Pursuant to 47 U.S.C. § 402(a), 28 U.S.C. §§ 2342(1) and 2344, and Rule 15(a) of the

      Federal Rules of Appellate Procedure, the National Consumer Law Center (“NCLC”) hereby

      seeks review of the attached Order of the Federal Communications Commission (“FCC” or

      “Commission”), Safeguarding and Securing the Open Internet; Restoring Internet Freedom,

      Declaratory Ruling, Order, Report and Order, and Order on Reconsideration, WC Docket No.

      17-108 and WC Docket No. 23-320 (released May 7, 2024) (“Order”) (Attachment A).

             On May 22, 2024, the Order was published in the Federal Register at 89 Fed. Reg. 45404

      (May 22, 2024). A copy of the Order is attached as Exhibit A to this Petition.

             Venue in this Court is proper under 28 U.S.C. § 2343. This petition is timely because it is

      being filed within the 60-day deadline established in 28 U.S.C. § 2344.

             NCLC supports the classification of broadband service as “telecommunications,” and

      consequently, most of the findings, rulings and regulations adopted in the Order. However,

      NCLC seeks review of portions of the Order on the grounds that they are arbitrary and

      capricious, an abuse of discretion, or otherwise not in accordance with law. This includes, but is



                                                       1
Case: 24-1529     Document:
                   Case: 24-7000
                            00118151849
                                  Document:
                                        Page:
                                            80 2 Filed:
                                                     Date
                                                        08/09/2024
                                                          Filed: 05/31/2024
                                                                      Page: 4 Entry ID: 6646339

ATTACHMENT A
      not limited to, the agency’s determination “to forbear from the first sentence of Section 254(d)

      [of the Communications Act] and our associated rules....” Order at p. 228, ¶ 364.

             NCLC respectfully requests that the Court hold the contested portions of the Order

      unlawful and vacate, enjoin and set aside those provisions of the Order and grant all such further

      relief as may be just and proper.

                                                                   Respectfully submitted,

                                                                   /s/ John Bergmayer
                                                                   Public Knowledge
                                                                   1818 N St. NW, Suite 410
                                                                   Washington, D.C. 20036
                                                                   (202) 861-0020
                                                                   john@publicknowledge.org


      Counsel for Petitioner National Consumer Law Center




      May 31, 2024




                                                      2
